Case 1:20-cv-00170-LMB-JFA Document 21 Filed 03/20/20 Page 1 of 2 PagelD# 90

Service of Process by
APS International, Ltd.
1-800-328-7171

APS INTERNATIONA, APS Internaticnal Plaza

SS Ay 7800 Glearoy Ra.
Qh Minneapolis, MN 58439-3122

APS File #: 56762-0002

AFFIDAVIT OF SERVICE -- Individual

Muna Al-Suyid, et. al., Plaintiffs)
vs.

Khalifa Hifter, et. al., Defendant(s)

Service of Process on:
WIGGIN & DANA --Khalid Hifter
; Court Case No. 1:20-cv-00170
265 Church Street |
PO Box 1832

New Haven, CT 06508

se er oe eee meee seme mae

County of: hha Adc nm ) .
Name of Server: J Abe | E Mir , undersigned, being duly sworn, deposes and says
that at the time of service, s/he was of legal age and was not a party to this action;

Date/Time of Service: that on the | {? aay of Mar ,20 QO. at I. Ad 1A I o'clock A IM

Place of Service: at 5505 Seminary Road, Unit 2310N iN Pals Church, VA 22041

Dacuments Served: the undersigned served the documents described as:
Allas Summons and Complaint and Civil Cover Sheet

Service of Process on: A true and correct copy of the aforesaid document(s) was served on:

ed. and Khalid Hifter
Method af Services _] By personally delivering them into the hands of the person to be served.
_! By delivering them into the hands of ,@ person

of suitable age, who verified, or who upon questioning stated, that he/she resides with
Khalid Hitter — POST 4 MAIL

at the place of service, and whose relationship to the person is:

Description of Person The person receiving documents is described as follows:
Receiving Documents: gp : Skin Color ; Hair Color ; Facial Hair

Approx. Age ; Approx. Height ____ | Approx. Weight

~~ To the best of my knowledge and belief, said person was not engaged in the US Military at
the time of service.

Signature of Server:  Undersigned declares under penalty of perjury © Subscribed and sworn to before me this
that ne true and correct. [Th day of March ,20 AO

Signature of Server Notary (Commission Expires)
APS International, Ltd.

Ces

Vrevicus, ddtempts Wee Madd bit, eugeen es sogonurci,
bf iy|a0xc ut §. 58 PM aE A
pajiajacad at a> AM SP ae

°
te e
Steuaer®

, nr ek TS
OA (2[a0Rd at [a:1>PM 4, EET

Case 1:20-cv-00170-LMB-JFA Document 21 Filed 03/20/20 Page 2 of 2 PagelD# 91

Servi
Muna Al-Suyid, et. al,, Plaintiff{s) <P APS Tatereationsl, Ltd
VS, ee .
Khalifa Hifter, et. al., Defendant(s) bee \ 1-800-328-7171

APS INTERNATIONAL | APS International Plaza

= = 1 I ay > 7800 Glearoy Rd.
erty Minaeapolls, MN 55439-3122

APS File #; 156762-0003

AFFIDAVIT OF SERVICE -- Individual

Service of Process on:

WIGGIN & DANA Khalid Hifter, by malling
| Court Case No, 1:20-ev-00170
| 265 Church Street

PO Box 1832 :

New Haven, CT 06508

State of: sc tuehictot Cilla ) ee oo oo oS
County of: Washinate
? ” Ne Emi
Name of Server: , undersigned, being duly swom, deposes and says
that at the time of service, s/he was of legal age and was not a party to this action;

Date/Time of Service: that on the [Gi day of May Ch ,20 AO at | o'clock Pm

Place of Service: at 3409 Wilson Blvd. ,iN Arlington, VA 22201
Apt. 213

Documents Served: the undersigned served the documents described as:
Summons and Complaint and Civil Cover Sheet

Service of Processon: A true and correct copy of the aforesaid document(s) was served on:
Khalid Hifter, by mailing
Person Served, and

Methad of Service: ~] By personally delivering them into the hands of the person to be served.

| By delivering them into the hands of , a person
of suitable age, who verified, or who upon questioning stated, that he/she resides with
Khalid Hifter, by mailing
at the place of service, and whose relationship to the person is:

Description of Person The person receiving documents is described as follows:
Receiving Documents: ex: Skin Color_______; Hair Color____; Facial Hair
Approx. Age. Approx. Height ___ |; Approx. Weight
|” To the best of my knowledge and belief, said person was not engaged in the US Military at

the time of service.
Signature of Server:  Undersigned declares under penalty of perjury © Subscribed and swom to before me this
that the ing is true and correct. Ha Ha day of MM Ayth ,20 0 AO
Signature of Server yennnllettiaray t mee mais (Commission Expires)
APS International, Ltd. toed yo “e,
‘. . yetie “. ANGE
“3 . Sat MOTARY PUBL *
~inp BN YP. BLIG SIST-aT OF COLUMPY
VG FS Gs? My Coren Ca sitet St ated
uM % P Oo
eM SS
St esac atte, ° cs
